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                    IN THE UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTICT OF GEORGIA
                                AUGUSTA DIVISON


               CASSANDRA SLATER                      )
                    DEBTOR,                          )      CHAPTER 13
                                                     )      CASE NO.: 19-10069
                                                     )
                                                     )

                                      MOTION TO RECONSIDER

       COMES NOW, Cassandra Slater by and through her counsel Lauminnia F. Nivens and

files this Motion to Reconsider.

                                               1.
                   Debtor filed a Chapter 13 Bankruptcy on January 19, 2019.

                                              2.
                        Debtor case was dismissed on February 22, 2019.

                                              3.
  Debtor case was dismissed with prejudice due to the Attorney not filing the balance of papers.

                                                 4.
              This error is an oversight on the Debtor’s attorney and not the Debtor.

                                               5.
     Debtor will face hardship burdensome if she does not continue on with the current case.


      WHEREFORE, we pray that the Courts reconsider Debtor case and vacate the Order
Dismissing the Chapter 13 case.
                                This 22th day of February, 2019.

                                                                    Respectfully submitted,
                                                                    /s/Lauminnia F. Nivens
                                                                    Lauminnia F. Nivens
                                                                    GA Bar No.: 544710
       1101 11th Street
       Augusta, GA 30901
       706-432-0997
       706-432-0071
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                   IN THE UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTICT OF GEORGIA
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              CASSANDRA SLATER                     )
                   DEBTOR,                         )       CHAPTER 13
                                                   )       CASE NO.: 19-10069
                                                   )
                                                   )


                                    ORDER TO RECONSIDER

       A Motion to Reconsider of the above captioned case having been filed by Debtor, it is
hereby ordered that the Motion to Reconsider is granted and the Order Dismissing case is
vacated.
                             [ END OF DOCUMENT]

Presented by:
/s/Lauminnia F. Nivens
Lauminnia F. Nivens
1101 11th Street
Augusta, GA 30901
706-432-0997
706-432-0071(fax)
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                                CERTIFICATE OF SERVICE

I, undersigned, do hereby certify that I served, a Motion to Reconsider and Order on the
following parties by CM/ECF electronic notice and U.S. mail:

Huon Le
Office of the Chapter 13 Trustee
Notices@chp13aug.org


Date: February 22, 2019                                            Respectfully submitted,
                                                                   /s/ Lauminnia F. Nivens
                                                                    Lauminnia F. Nivens
                                                                    1101 11th Street
                                                                    Augusta, GA 30901
                                                                    706-432-0997
                                                                    706-432-00071 (fax)
                                                                     lawofficelnivens@aol.com
